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        EXHIBIT “F”
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        EXHIBIT “G”
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        EXHIBIT “H”
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,                                        Civil Action No. 2:22-cv-247-MJH
          Plaintiff,
     v.                                              Judge Horan

MICHAEL RUSSIN, et al.,

              Defendant.                             JURY TRIAL DEMANDED

                           AFFIDAVIT OF MATTHEW MAMROS
       I, Matthew Mamros, hereby state the following:
       1.     I am a former insurance agent for American Income Life Insurance Company and
Arias Agencies.
       2.     I worked with Plaintiff, Renee Zinsky, and Defendant, Michael Russin.

       3.     I have firsthand knowledge of facts relevant to this matter.

      4.       On or about March 8, 2023, Defendant Russin threatened me via Instagram
messenger stating as follows:

              Are you prepared for violence?
              ...
              All this time you spend at 2am sending emails – do you ever think of the
              safety of your children?
              ...
              Oh no wait this isn’t the old hag
              ...
              This is the young liar


       I declare under penalty of perjury that the following is true and correct.




       Date: 05/02/2023
                                              Matthew Mamros
      Case 2:22-cv-00547-MJH Document 71-3 Filed 05/04/23 Page 8 of 22


                             VIRGINIA ACKNOWLEDGMENT

                                                                   )
State of Virginia                                                  )
County of    Roanoke                                               )

On 05/02/2023               before me, Alexander Luis Marin                                              ,
            Date                                                    Notary Name

personally appeared                                  Matthew Mamros
                                                    Name(s) of Signer(s)

❑   personally known to me -- OR --

❑   proved to me on the basis of the oath of                                                  -- OR --
                                                 Name of Credible Witness
❑   proved to me on the basis of satisfactory evidence:     Driver License
                                                                       Type of ID Presented
to be the individual(s) whose name(s) is (are) subscribed to the within instrument, and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies)
and by proper authority, and that by his/her/their signature(s) on the instrument, the individual(s),
or the person(s) or entity upon behalf of which the individual(s) acted, executed the instrument for
the purposes and consideration therein stated.

                                       WITNESS my hand and official seal.

                                      Notary Public Signature:
                                      Notary Commission Number: 7871785
                                      Notary Commission Expires: 08/31/2024
                                      Notarized online using audio-video communication




DESCRIPTION OF ATTACHED DOCUMENT
Title or Type of Document: AFFIDAVIT OF MATTHEW MAMROS
Document Date:        05/02/2023                   Number of Pages (w/ certificate): 2
Signer(s) Other Than Named Above:


Capacity(ies) Claimed by Signer(s)                      Capacity(ies) Claimed by Signer(s)
Signer’s Name:      Matthew Mamros                      Signer’s Name:


❑   Corporate Officer Title:                            ❑       Corporate Officer
                                                                                Title:
❑ Partner – ❑ Limited ❑ General                         ❑ Partner – ❑ Limited ❑ General
❑ Individual ❑ Attorney in Fact                         ❑ Individual ❑ Attorney in Fact
❑ Trustee      ❑ Guardian of Conservator                ❑ Trustee      ❑ Guardian of Conservator
❑ Other:                                                ❑ Other:
Signer Is Representing:                                 Signer Is Representing:
              Matthew Mamros

                                               (    2       )
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        EXHIBIT “I”
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,                                          Civil Action No. 2:22-cv-247-MJH
          Plaintiff,
     v.                                                Judge Horan

MICHAEL RUSSIN, et al.,

               Defendant.                              JURY TRIAL DEMANDED

                               AFFIDAVIT OF RENEE ZINSKY
       I, Renee Zinsky, hereby state the following:
       1.    I am an insurance agent for American Income Life Insurance Company (“AIL”)
and Arias Agencies.

       2.      I have worked for AIL and Arias Agencies from 2019 through present.

     3.    For a period of ten (10) months, approximately, I worked closely with Matthew
Mamros (“Mamros”), and Defendant, Michael Russin (“Russin”).

       4.      During that time period, Mamros reported to me, and I reported up to Russin.

        5.     I attended numerous meetings and work-related events with Mamros and Russin
during the course and scope of my employment with AIL and Arias Agencies.

         6.     In that capacity, I frequently witnessed Russin inebriated from alcohol and/or
illegal drugs at work.

        7.     In that capacity, I frequently witnessed Russin acting in an intimidating and
threatening manner, often screaming obscenities, insults, and threats of violence toward his
subordinates at work.

       8.      For example, I recall attending one meeting wherein Russin was screaming
obscenities and threats as follows:

       So when I see these schedules... you would have to shoot me in the fucking face
       and drag me out of here, my lifeless corpse, to have a schedule like this ... I warned
       you guys two weeks ago that I was goin old school, did I not? If this scares anyone
       off, fuck em! I don’t give a shit! ... And if you think you’re gonna go online and get
       attorneys ... I’ve got a quarter mill saved and we will go to battle, for years... and it
       won’t put a fuckin’ dent in what I’ve fuckin’ got... And I’m not perfect, Goddamit.
       Case 2:22-cv-00547-MJH Document 71-3 Filed 05/04/23 Page 11 of 22




       I’m a fuckin’ psycho. And anyone with half a fuckin’ brain can see that ... I’m a
       Goddam psycho.

        9.       On or about June 2020, I witnessed Russin, while inebriated, screaming threats and
insults at his wife and hotel workers while acting erratically and violently destroying hotel property
via Facebook Live.

       10.    Since separating from AIL and Arias Agencies, I frequently listen to Russin’s
podcast, Absideon Achievement.


       11.     The topics, thoughts, and opinions Russin discusses in his Absideon Achievement
podcasts are similar if not identical to many of the topics, thoughts, and opinions that Russin
discussed during work meetings which I attended along with Zinsky and other co-workers.

       12.     Russin’s demeanor in his Absideon Achievement podcasts is similar but more
subdued and reserved than his demeanor during AIL and Arias Agencies work meetings which I
attended along with Zinsky and other co-workers.

      13.      For example, Russin used more violent threats as to me, Zinsky, and other co-
workers in said work meetings than in his Absideon Achievement podcast episodes.

       14.     Other than behaving in a more subdued and reserved manner for the Absideon
Achievement podcast episodes, Russin’s personality conveyed in the podcast episodes is identical
to Russin’s personality that I experienced first-hand while working at AIL and Arias Agencies.



       I declare under penalty of perjury that the following is true and correct.




       Date: 05/02/2023
                                               Renee Zinsky


                               See Attached Jurat
        Case 2:22-cv-00547-MJH VIRGINIA
                               DocumentJURAT
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 State of Virginia                                                   )
                                                                     )
 County of      Prince William                                       )

 On 05/02/2023               , before me, Nickole Cromartie                                         ,
             Date                                              Notary Name
     the foregoing instrument was subscribed and sworn to before me by:
                                   Renee Zinsky
                                                                                                    .
                                   Name of Affiant(s)

 ❑   Personally known to me -- OR --

 ❑   Proved to me on the basis of the oath of                                            -- OR --
                                                  Name of Credible Witness
                                                                   Pennsylvania Driver License
 ❑ Proved to me on the basis of satisfactory evidence:
                                                                  Type of ID Presented




                                     WITNESS my hand and official seal.

                                     Notary Public Signature:
                                     Notary Commission Number: 7998810
                                     Notary Commission Expires: 11/30/2026
                                     Notarized online using audio-video communication




DESCRIPTION OF ATTACHED DOCUMENT
                                   AFFIDAVIT OF RENEE ZINSKY
Title or Type of Document:
                      05/02/2023
Document Date:

Number of Pages (including notarial certificate): 3




                                                    3
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        EXHIBIT “J”
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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

     RENEE ZINSKY,                                         Civil Action No. 2:22-cv-247-MJH
               Plaintiff,
          v.                                               Judge Horan

     MICHAEL RUSSIN, et al.,

                      Defendant.                           JURY TRIAL DEMANDED

                                   AFFIDAVIT OF MATTHEW MAMROS
               I, Matthew Mamros, hereby state the following:
           1.     I am a former insurance agent for American Income Life Insurance Company
     (“AIL”) and Arias Agencies.

          2.     I worked for AIL and Arias Agencies for approximately ten (10) months, from
     December 2019 through September 2020.

           3.     During that time period, I worked with Plaintiff, Renee Zinsky (“Zinsky”), and
     Defendant, Michael Russin (“Russin”).

               4.     During that time period, I reported directly to Zinsky, and Zinsky reported up to
     Russin.

             5.     I attended numerous meetings and work-related events with Zinsky and Russin
     during the course and scope of my employment with AIL and Arias Agencies.

              6.     In that capacity, I frequently witnessed Russin inebriated from alcohol and/or
     illegal drugs at work.

             7.     In that capacity, I frequently witnessed Russin acting in an intimidating and
     threatening manner, often screaming obscenities, insults, and threats of violence toward his
     subordinates at work.

             8.       On or about June 2020, I witnessed Russin, while inebriated, screaming threats and
     insults at his wife and hotel workers while acting erratically and violently destroying hotel property
     via Facebook Live.

9.   Since separating from AIL and Arias Agencies, I frequently listen to Russin’s
     podcast, Absideon Achievement.
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       10.    To date, I have listened to almost all of Russin’s Absideon Achievement podcast
episodes.

       11.     The topics, thoughts, and opinions Russin discusses in his Absideon Achievement
podcasts are similar if not identical to many of the topics, thoughts, and opinions that Russin
discussed during work meetings which I attended along with Zinsky and other co-workers.

       12.     Russin’s demeanor in his Absideon Achievement podcasts is similar but more
subdued and reserved than his demeanor during AIL and Arias Agencies work meetings which I
attended along with Zinsky and other co-workers.

      13.      For example, Russin used more violent threats as to me, Zinsky, and other co-
workers in said work meetings than in his Absideon Achievement podcast episodes.

       14.     Other than behaving in a more subdued and reserved manner for the Absideon
Achievement podcast episodes, Russin’s personality conveyed in the podcast episodes is identical
to Russin’s personality that I experienced first-hand while working at AIL and Arias Agencies.



       I declare under penalty of perjury that the following is true and correct.




       Date: 05/01/2023
                                              Matthew Mamros




                                   Commonwealth of Virginia

                                   County of Prince William


                                   The foregoing instrument was acknowledged before me

                                   on 05/01/2023 by Matthew Mamros.




                                   7999724

                                   My commission expires: 01/31/2026


                                   Notarized online using audio-video communication
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        EXHIBIT “K”
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